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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF LOUISIANA

DR. DOROTHY NAIRNE, et al.,
                                           Civil Action No. 3:22-cv-00178-SDD-SDJ
      Plaintiffs,

v.                                         Chief Judge Shelly D. Dick

R. KYLE ARDOIN, in his official capacity
as Secretary of State of Louisiana,        Magistrate Judge Scott D. Johnson

      Defendant.


                       DEFENDANTS’ POST-TRIAL BRIEF
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                                        INTRODUCTION

       Plaintiffs’ claim under § 2 of the Voting Rights Act (“VRA”) is an overreach. Louisiana’s

house and senate redistricting plans provide more districts of majority Black voting-age population

(“BVAP”) than any prior plans in entirety of Louisiana history. Four individuals and two advocacy

groups (“Plaintiffs”) now demand nine new majority-BVAP legislative districts, six in the house

and three in the senate. No one advocating before the Legislature during the 2021/2022

redistricting cycle suggested § 2 requires that many majority-Black districts, and no proposed plan

came close to matching it. “Forcing proportional representation is unlawful and inconsistent with

[the Supreme] Court’s approach to implementing § 2.” Allen v. Milligan, 599 U.S. 1, 28 (2023).

But Plaintiffs go further, past proportional representation, into mandating disproportionate over-

representation. The Court should reject that ploy for multiple reasons.

       First, Plaintiffs lack standing to challenge all but a handful of legislative districts. A

redistricting plaintiff claiming vote dilution has standing to challenge that plaintiff’s own district,

nothing more. The four individuals (“Individual Plaintiffs”) thus collectively have standing to

challenge at most four legislative districts alleged to violate § 2. That cannot get them the 47

districts’ worth of relief they demand. Plaintiffs therefore necessarily rely on the standing of

advocacy groups (the “Entity Plaintiffs”) for the remaining districts.

       But the Entity Plaintiffs lack standing entirely. The one Entity Plaintiff that asserts

associational standing has not proven it has members in all remaining challenged districts. Nor

have the Entity Plaintiffs established Article III standing in their own right for organizational

standing. And § 2—which contains no right of action for anyone—certainly cannot be read to

confer a right on corporations to assert the voting rights of non-members.

       Second, Plaintiffs did not prove the essential threshold prerequisites of a § 2 claim. The

minority groups they would gerrymander into new majority-BVAP districts, by an unlawful
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maximization policy, are not compact. The only evidence before the Court concerning population

compactness (as opposed to compactness of district shapes) shows that Plaintiffs’ expert stitched

together far-flung pockets of Black voting-age persons into new majority-BVAP districts, which

§ 2 does not require or permit. Moreover, Plaintiffs did not prove that voting is racially polarized:

their expert failed to measure, in a reliable way, the very large segment of votes cast in early or

absentee voting. Even if Plaintiffs’ estimates were reliable, they show that there is political (not

racial) polarization in Louisiana. One defense expert properly controlled for partisan polarization

in his study and determined that differences in political views—not racial animus—is driving the

patterns Plaintiffs count as polarized. Plaintiffs’ experts, by contrast, myopically focused on White

Democratic voters in attempting to differentiate race from politics, which makes no sense when it

is White Republican voters whose voting choices Plaintiffs’ experts are deeming polarized.

       Third, Plaintiffs have no viable claim to disproportionate representation, when § 2

disavows even proportionality. With respect to the regions of focus that Plaintiffs have identified

(which is the inquiry required by precedent), Plaintiffs uniformly seek more than proportionality.

For example, in the house plan in the Baton Rouge area (44% BVAP), the enacted plan provides

six majority-BVAP districts out of eleven (54%). But Plaintiffs demand eight—i.e., 73% of the

districts versus 44% BVAP in the Baton Rouge area. Similarly, Plaintiffs also seek

disproportionate representation statewide: their illustrative plans make 33.3% of the house district

and 35.9% of the senate districts majority-Black, even though the State’s BVAP is 31.25%. That

illustrative plans are thus “unlawful and inconsistent with” § 2. Allen, 599 U.S. at 28. For these

reasons, those discussed below, and those raised in Defendants’ pretrial filing, Doc. 177, and other

briefing in this matter, this Court should enter judgment for the defense.




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                                                     ARGUMENT

I.       PLAINTIFFS LACK STANDING TO CHALLENGE ALL BUT (POSSIBLY)
         FOUR DISTRICTS.

         Plaintiffs lack Article III standing for most of the relief they seek. Plaintiffs “bear[] the

burden” to satisfy the “irreducible constitutional minimum” of standing. Lujan v. Defs. of Wildlife,

504 U.S. 555, 560–61 (1992). They must prove that they “suffered a concrete and particularized

injury that is fairly traceable to the challenged conduct, and is likely to be redressed by a favorable

judicial decision.” Carney v. Adams, 592 U.S. 53, 58 (2020) (quotation omitted). In the vote-

dilution context, that requires showing—at a minimum—that each plaintiff resides in each district

challenged as unlawful. Gill v. Whitford, 138 S. Ct. 1916, 1930 (2018). Plaintiffs appear to

challenge 34 house and 13 senate districts, for a total of 47 districts. 1 But Individual Plaintiffs only

presented evidence of standing in, at most, three house districts and one challenged senate

district—thereby failing to demonstrate standing for the vast majority of the State.

         There are four Individual Plaintiffs: Dr. Nairne, Rev. Lowe, Dr. Washington, and Pastor

Harris. Individuals have standing “only with respect to those legislative districts in which they

reside.” North Carolina v. Covington, 138 S. Ct. 2548, 2553 (2018). Dr. Nairne testified that she

resides in HD60 and SD2. 1.TR2 26:22–25, 29:10–12. Rev. Lowe and Dr. Washington both reside

in HD66 and SD16, 1.TR 56:25–57:4, 105:5–8 (though SD16 is not challenged). See Doc. 163-1

at 5. Pastor Harris resides in HD25 under the enacted plan and he did not disclose his senate district.



1
  Plaintiffs say their case “directly implicate[d] the following enacted districts: House Districts 1, 2, 3, 4, 5, 6, 7, 8, 9,
13, 22, 25, 29, 34, 35, 36, 37, 47, 57, 58, 59, 60, 61, 62, 63, 65, 66, 67, 68, 69, 70, 81, 88, and 101, and Senate Districts
2, 5, 7, 8, 10, 14, 15, 17, 19, 31, 36, 38, and 39.” Doc. 163-1 at 5.
2
  Defendants have requested, but have not yet received, final transcripts in this matter. Due to the expedited nature of
this post-trial briefing, and pursuant to Defendants’ understanding of the Court’s instructions, Defendants provide
citations to cleaned-up rough transcripts and rough transcripts (when the cleaned-up versions were not available) filed
contemporaneously as sequential attachments, with the exception of Day 3, which is broken into Attachments 3A
(a.m. session) and 3B (p.m. session). The transcripts will be referred to as “[Day#].TR [Page#:Line#].” For example,
1.TR 26:22–25 refers to the attached Day 1 transcript at page 26, lines 22 through 25. o


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1.TR 76:19–20. At best then, Individual Plaintiffs have established standing to challenge SD2,

HD60, HD66, and HD25.

       Plaintiffs lack standing to challenge SD2, however, because it is majority-Black under the

enacted plan. 1.TR 82:5–9. Plaintiffs are not injured by districts that provide them with an equal

opportunity to elect their representatives of choice, see Gill, 138 S. Ct. at 1932, as SD2 does. Any

claim by the Individual Plaintiffs that other districts cause them injury is a “generalized grievance”

that does not confer standing. Id. at 1931. The Entity Plaintiffs thus have an enormous gap to fill:

i.e., the 43-44 districts in which no Individual Plaintiff resides. To do that, Plaintiffs attempt to

rely on the alleged standing of Entity Plaintiffs Black Voters Matter Capacity Building Institute

(“BVM”) and the Louisiana State Conference of the National Association for the Advancement of

Colored People (the “Louisiana NAACP”).

       For organizational plaintiffs, Article III standing “can be satisfied in two ways. Either the

organization can claim that it suffered an injury in its own right or, alternatively, it can assert

‘standing solely as the representative of its members.’” Students for Fair Admissions, Inc. v.

President & Fellows of Harvard Coll., 600 U.S. 181, 199 (2023) (“SFFA”) (citation omitted).

Where an organization asserts members’ standing, it must “make specific allegations establishing

that at least one identified member” would have standing in that member’s own right. Summers v.

Earth Island Inst., 555 U.S. 488, 498 (2009). “An organization has standing to sue on its own

behalf if it meets the same standing test that applies to individuals.” Ass’n of Cmty. Organizations

for Reform Now v. Fowler, 178 F.3d 350, 356 (5th Cir. 1999) (“ACORN”). The Entity Plaintiffs

have not established standing under either theory.

       Plaintiffs do not claim associational standing for BVM, see Doc. 163 at 12 n.4, only for the

Louisiana NAACP. And that assertion failed at trial.




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       To establish associational standing, an entity “must demonstrate that (a) its members would

otherwise have standing to sue in their own right; (b) the interests it seeks to protect are germane

to the organization’s purpose; and (c) neither the claim asserted nor the relief requested requires

the participation of individual members in the lawsuit.” SFFA, 600 U.S. at 199 (quotation omitted).

The Supreme Court’s precedents “have required plaintiff-organizations to make specific

allegations establishing that at least one identified member had suffered or would suffer harm.”

Summers, 555 U.S. at 498; see also SFFA, 600 U.S. at 201. This includes a “requirement of naming

the affected members.” Summers, 555 U.S. at 498; see Ala. Legislative Black Caucus v. Ala., 575

U.S. 254, 271 (2015); N.A.A.C.P. v. City of Kyle, Tex., 626 F.3d 233, 237 (5th Cir. 2010).

       Here, the Louisiana NAACP refused to provide the “list of members” necessary to establish

standing, Ala. Legislative Black Caucus, 575 U.S. at 271, even after Defendants sought that

information in discovery. When Defendants moved to compel discovery responses on that topic,

the Louisiana NAACP first relied on an interrogatory response of its president, Mr. McClanahan,

that he “identified at least one member” in each of the 47 challenged districts, see Doc. 135-10 at

2, but the Louisiana NAACP refused discovery into membership. After discovery closed, and after

the Court entered an order on November 2, 2023 (just 25 days before trial) clarifying that Plaintiffs

must disclose the names of members whose standing they might rely on. See Doc. 169 at 2. But

the Louisiana NAACP then disclosed “members” in only ten districts, see Doc. 173-1, a number

that dwindled to nine “members” at trial. See infra p. 6. That showing was too little, too late.

       First, Mr. McClanahan conceded that Louisiana NAACP—a State Conference of the

NAACP—does not actually have individual members itself. 1.TR 134:15–17. Instead, Mr.

McClanahan claimed to satisfy the Louisiana NAACP’s associational standing by identifying

members of affiliated NAACP branches, despite being the president of no branch. 1.TR 134:25–




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135:1. This difference matters because the NAACP’s branches are separate legal entities with

their own officers, 1.TR 135:2–7, and elect “delegates” to attend state conventions and select

Louisiana NAACP officers. 1.TR 124:20–25. Mr. McClanahan did not testify that the nine alleged

branch members were officers of the Louisiana NAACP or delegates to a state convention. Nor

did Plaintiffs provide evidence of what rights and privileges are afforded to “members” of a branch

as to the State Conference (the Louisiana NAACP).3 Louisiana NAACP’s claim of associational

standing thus fails on that basis alone.

         Second, the “evidence” that these nine individuals are branch members was scant and

objectionable. Mr. McClanahan testified that the nine named individuals reside in three senate

districts (SD8, SD17, and SD38) and six house districts (HD1, HD25, HD34, HD65, HD68,

HD101). 1.TR* 5-19.4 But he could not recall whether branches had members in certain districts

or the names or addresses of members, and essentially read an interrogatory response (likely

drafted by lawyers) as his testimony. Id. Further, Plaintiffs adduced no evidence that those alleged

branch members are regular voters or that they are not represented by their candidates of choice.

         Much of this testimony was hearsay, which was improperly admitted over Defendants’

objections that they were denied discovery, including the right to depose the nine alleged members

who waived their First Amendment associational privilege. See 1.TR* 12:7–13:5, 23:18–24. That

discovery would have allowed adversarial vetting of the Louisiana NAACP’s representations

about these alleged branch members. Through this series of events, the Louisiana NAACP used



3
  Plaintiffs attempted to elicit testimony from Mr. McClanahan about a document they purported to be the Louisiana
NAACP’s bylaws, but he—the group’s president—could not authenticate the document and it was properly excluded.
1.TR 121:17–124:1.
4
  Upon Plaintiffs’ request, this portion of the testimony was designated as “Attorneys Eyes Only,” and the courtroom
was cleared. Out of an abundance of caution, Defendants are not filing a rough transcript under seal, but provide
citations to the cleaned-up Day 1 sealed testimony (“1.TR*”) to aid the Court once final transcripts are available. If
the Court requests, Defendants will provide citations to the final, official trial transcripts once available, to avoid
further filing under seal.


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its First Amendment associational privilege as both sword and shield by making a highly selective,

eleventh-hour disclosures while shielding the topic from discovery. This approach is unsupported

in precedent and prejudicial to Defendants, as Defendants argued previously. See, e.g., Doc. 122

at 1–5; Doc. 132-1 at 6–8.

       Third, Plaintiffs offered no evidence of when these identified individuals became branch

members or where they resided when this action commenced. That omission is fatal because the

Louisiana NAACP was required to “demonstrate that” the alleged branch members “have standing

to sue in their own right,” SFFA, 600 U.S. at 199, as judged “as of the commencement of the suit.”

In re Isbell Records, Inc., 774 F.3d 859, 869 (5th Cir. 2014) (citation omitted). Without evidence

concerning that time period, Plaintiffs’ standing assertion fails.

       To establish standing in their own right (i.e., organizational standing), the Entity Plaintiffs

must demonstrate a “concrete and demonstrable injury to the organization’s activities,” not

“simply a setback to the organization’s abstract social interests.” Havens Realty Corp. v. Coleman,

455 U.S. 363, 379 (1982). Plaintiffs must present specific “evidence showing that [they] [were]

‘directly affected’ by” the challenged redistricting plans. ACORN, 178 F.3d at 357. An

organization may do this “by showing that it had diverted significant resources to counteract the

defendant’s conduct.” N.A.A.C.P., 626 F.3d at 238. Plaintiffs failed these requirements too.

       The Louisiana NAACP alleges injury based on the alleged expenditures of time and money

it spent to get members “excited” about elections. 1.TR 128:15, 130:11–131:7. But that establishes

nothing but “routine” strategic “activities” of a group that always spends money to motivate

members and must, in all events, decide where to focus resources. See N.A.A.C.P., 626 F.3d at

238. Moreover, this identifies no cost increase that is “concrete or identifiable” or a diversion of

resources from other activities. ACORN, 178 F.3d at 360; Texas State LULAC v. Elfant, 52 F.4th




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248, 253 (5th Cir. 2022) (reversing finding of standing where the evidence “fail[ed] to link any

diversion of resources specifically to” the challenged law). The evidence shows (at most) a shift,

which includes cost savings in some cases that is consistent with overall net cost reduction. Further,

claimed injury in the form of alleged reduced excitement on the part of Black voters “simply”

describes “a setback to the organization’s abstract . . . interests.” Havens Realty, 455 U.S. at 379.

         BVM5 likewise failed to prove standing. BVM operates in some 25 states, Doc. 149-6 at

18:7–25, and does not have individual members, 1.TR 195:5–7, but instead works with “partner

organizations.” 1.TR 196:5–9. Not all partners have members. 1.TR 196:10–15. BVM’s goal is to

increase the outreach capacity of partner organizations engaged in voter participation and that

otherwise “address our issues in their community,” 1.TR 164:24–165:3, meaning that not all

BVM’s partners engage in voter outreach.

         BVM claims that, as a result of the redistricting process, it diverted time and funds it might

have otherwise used towards funding its partners’ non-redistricting purposes and missions. See

1.TR 172:20–173:7. Specifically, BVM points to costs associated with a bus tour it coordinated

during the legislative redistricting and related events from before the maps became law. See 1.TR

172:3–19, 199:23–200:7. But BVM has “made no showing that these . . . costs are fairly traceable

to any of the conduct by Louisiana that [BVM] claims in its complaint is illegal.” ACORN, 178

F.3d at 359. These expenses were undertaken before the challenged plans became law, so, if the

Legislature had selected BVM’s desired plan, those same costs would still have been spent. BVM

cannot claim injury from legislative deliberations, and, like the “monitoring” and “litigation” costs




5
  Omari Ho-Sang testified that Black Voters Matter Capacity Building Institute (501(c)(3)) and Black Voters Matter
Fund (501(c)(4)) are separate entities. 1.TR 195:10–196:1. Nearly all evidence submitted relates to the activities of
the 501(c)(4)—which is not a named plaintiff in this case. See PL184–PL208. Defendants maintain that no evidence
was presented involving harm to the Capacity Building Institute. That said, even assuming arguendo the alleged harm
to the 501(c)(3) is the same as the harm to the 501(c)(4), BVM has failed to show it has standing.


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found non-cognizable in ACORN, see id. at 358–59, the costs of lobbying the Legislature for a

different outcome cannot be regarded as injuries from the enacted plans, see N.A.A.C.P., 626 F.3d

at 238 (“lobbying activities” not cognizable injury-in-fact).

       BVM also claims that the redistricting process created an increasing sentiment in minority

communities that “their votes doesn’t matter,” which BVM asserted “ma[de] it a bit more

challeng[ing] for us to have the conversation” with Black voters. 1.TR 174:17–175:17. Ultimately,

this showing, like Louisiana NAACP’s, “simply” describes “a setback to the organization’s

abstract . . . interests” insufficient to show standing. Havens Realty, 455 U.S. at 379. See also

Texas State LULAC, 52 F.4th at 253. BVM therefore lacks organizational standing to sue.

II.    SECTION 2 OF THE VOTING RIGHTS ACT DOES NOT GRANT A PRIVATE
       RIGHT OF ACTION.

       As the Eighth Circuit recently held, there is no private right of action to enforce § 2.

Arkansas State Conf. NAACP v. Arkansas Bd. of Apportionment, 86 F.4th 1204 (8th Cir. 2023).

Although the Fifth Circuit reached a contrary conclusion in Robinson v. Ardoin, 86 F.4th 574 (5th

Cir. 2023), that conclusion is incorrect for all of the reasons explained in Arkansas State Conf.

NAACP. Defendants preserve this argument for additional appellate review for the reasons set forth

in their Motion to Dismiss and Memorandum in Support, Docs. 187 and 187-1.

III.   PLAINTIFFS DID NOT PROVE A § 2 CLAIM.

       For a § 2 claim to be viable, (1) “the minority group must be able to demonstrate that it is

sufficiently large and geographically compact to constitute a majority in a single-member district,”

(2) “the minority group must be able to show that it is politically cohesive,” and (3) “the minority

must be able to demonstrate that the white majority votes sufficiently as a bloc to enable

it . . . usually to defeat the minority’s preferred candidate.” Thornburg v. Gingles, 478 U.S. 30,

50–51 (1986). “If a plaintiff makes that showing, it must then go on to prove that, under the totality



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of the circumstances, the district lines dilute the votes of the members of the minority group.”

Abbott v. Perez, 138 S. Ct. 2305, 2331 (2018).

       “The question which the court must answer in a section 2 case is whether ‘as a result of the

challenged practice or structure plaintiffs do not have an equal opportunity to participate in the

political processes and to elect candidates of their choice.’” Westwego Citizens for Better Gov’t v.

City of Westwego, 946 F.2d 1109, 1120 (5th Cir. 1991) (citation omitted). The inquiry “depends

upon a searching practical evaluation of the past and present reality” and on a “functional view of

the political process.” Id. at 34. In this case, the challenged Louisiana State House and Senate plans

contain 40 majority-BVAP districts. SOS_1 at 8. Plaintiffs are therefore asserting, “not the chance

for some electoral success in place of none, but the chance for more success in place of some.”

Johnson v. De Grandy, 512 U.S. 997, 1012–13 (1994). Consequently, this case presents (at best)

“closer calls” than many § 2 cases. Id. “As facts beyond the ambit of the three Gingles factors

loom correspondingly larger, factfinders cannot rest uncritically on assumptions about the force of

the Gingles factors in pointing to dilution.” Id.

       A.      Plaintiffs Did Not Establish the First Precondition.

               1.      The Minority Population Is Not Compact.

       “[T]he first Gingles condition requires the possibility of creating more than the existing

number of reasonably compact districts with a sufficiently large minority population to elect

candidates of its choice.” Johnson, 512 U.S. at 1008. Plaintiffs must show that the “minority

group” is “sufficiently large and geographically compact to constitute a majority” in more

“reasonably configured district[s]” than currently exist. Allen, 599 U.S. at 18. “The first Gingles

condition refers to the compactness of the minority population, not to the compactness of the

contested district.” League of United Latin Am. Citizens v. Perry, 548 U.S. 399, 433 (2006)

(hereinafter “LULAC”).


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         Plaintiffs failed to adduce any evidence of the compactness of the minority population in

their new illustrative majority-Black districts. Plaintiffs’ expert, Bill Cooper, presented those

illustrative plans for the house and senate. PL20, PL89. Yet Mr. Cooper did nothing to assess the

compactness of the Black population grouped within his proposed new majority-Black districts.

3A.TR 89:9–13. He deemed that inquiry “not necessary” and “something that one does not need

to do to answer the Gingles I inquiry.” Id. at 89:13–14. Mr. Cooper thought it irrelevant the Black

population was located across different parts of the district. Id. at 90:14–16.

         The Fifth Circuit begs to differ: the compactness inquiry evaluates “the compactness of the

minority population in the proposed district, not the proposed district itself.” Robinson v. Ardoin,

37 F.4th 208, 218 (5th Cir. 2022) (citing LULAC, 548 U.S. at 433). But Mr. Cooper failed to offer

any evidence or analysis as to this dispositive inquiry, instead deeming that controlling inquiry

irrelevant. That error—and the resulting absence of any relevant analysis/evidence—is fatal here.

         The only trial evidence concerning the compactness of the minority population was the

reports and testimony of defense expert Sean Trende. Mr. Trende first employed a qualitative

approach, examining dot density maps showing the dispersion of the Black population. See SOS_3

at 10; 4.TR 173:22–174:20. For example, he showed that in Illustrative House District (“IHD”) 1

in the Shreveport area, the Black population is not compact but rather spread out, separated by

White populations. Ex. 1 at 16. Similar maps show similar patterns across Mr. Cooper’s new

majority-Black districts. SOS_3 at Figs. 21, 33, 48, 52, 71, 83, 96.

         Mr. Trende also applied quantitative approaches to assessing population compactness,

using both moment of inertia7 and the areal/Chen & Rodden compactness measures. SOS_3 at 14-


6
  Attached hereto as Exhibit 1 (“Ex. 1”) are copies of Figures 5 and 6 from Mr. Trende’s Expert Report, SOS_3 at 13,
17.
7
  Moment of inertia is one of the oldest redistricting metrics. SOS_3 at 14-15 (citing scholarly articles dating back to
1963). “The moment of inertia approach is defined as the ‘sum of squared distances from each person to [their]


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16; 4.TR 177:25–179:25, 180:1–181:13. By these methods, Mr. Trende demonstrated the most

compact group of Black voting-age residents in Mr. Cooper’ illustrative districts that would

constitute a majority. For example, Mr. Trende found in IHD1 (Shreveport) that the most compact

Black population sufficient for a majority stretches beyond Shreveport city limits, crossing heavily

White areas to pick up distant Black population further north. SOS_3 at 19. He concluded that

these isolated Black populations are “not incidental to the 50%+1 district, they are needed to draw

such a district in the configuration.” Id. He presented these depictions in additional figures in his

report. Ex. 1 at 2; see SOS_3 at Figs. 7, 22, 23, 34, 35, 49, 50, 53, 54, 72, 73, 84, 85, 97, 98.

         Based upon these methods, Mr. Trende concluded that Mr. Cooper’s illustrative majority-

Black districts “are not based upon compact minority populations” and that areas within some of

Mr. Cooper’s illustrative districts that capture disparate Black populations that “are not large

enough to constitute a majority of the district.” SOS_3 at 7-8, 138. See Cooper v. Harris, 581 U.S.

285, 305 (2017) (“When a minority group is not sufficiently large to make up a majority in a

reasonably shaped district, § 2 simply does not apply.”).

         Plaintiffs did not rebut Mr. Trende’s conclusions. Plaintiffs rely on the Reock and Polsby-

Popper measures, which measure the compactness of the district shape, not its minority

population. 4.TR 171:14–172:4. That is plainly insufficient under binding Fifth Circuit precedent.

Robinson, 37 F.4th at 218. This case is in all respects like Sensley v. Albritton, 385 F.3d 591 (5th

Cir. 2004), which rejected a proposed district that would “lump together two groups of African–

American citizens who were from two distinct communities . . . which are separated by



district’s center’” Id. at 15 (citation omitted). It is not relevant whether courts have in the past accepted moment-of-
inertia analyses for the first precondition. 4.TR 188:11–189:5. No court has rejected it, at least one redistricting
decision has recognized moment of inertia as a compactness measure, see In re Colo. General Assembly, 828 P.2d
185, 198 (Co. 1992), and no rule binds all litigants to the same forms of proof as prior litigants. It is a well-known
methodology in the field of geography, with 19,000 references in the academic literature. 6.TR 151:13–152:15
(testimony of Dr. Murray). Besides, the first precondition is Plaintiffs’ to prove, not Defendants’ to disprove.


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considerable distance (approximately 18 miles) and share few community interests.” Id. at 598. In

each region where Plaintiffs demand additional majority-BVAP districts, Mr. Cooper does just

that.

        Thus, Plaintiffs neither met their burden under the correct standard nor responded

adequately to the defense evidence. In addition, Mr. Cooper did not analyze compactness at the

district level. He only assessed the compactness of his plans statewide, as compared to the enacted

plans. See PL20 at ¶¶ 82-85, Fig. 14; ¶¶ 110-113, Fig. 25. While he appended district compactness

scores in his illustrative plans to his report, he performed no analysis district by district. 3A.TR

90:17–91:21, 92:8–14. He made only visual assessments of the new district lines. Id. at 92:11–14.

But the Fifth Circuit in Robinson found that assessment of compactness on a statewide basis, and

not district-by-district, does not show that the minority population in plaintiffs’ proposed district

was geographically compact. 37 F.4th at 218-29 (holding that federal courts “cannot rely on”

analysis that “addresses compactness on a plan-wide basis, not a district-by-district basis—as the

first Gingles precondition requires”).

               2.      Plaintiffs’ Plans Are Racial Gerrymanders.

        Plaintiffs do not establish the first precondition for the additional reason that their

illustrative plans, if ratified, would compel illegal racial gerrymandering. In Harding v. County of

Dallas, the Fifth Circuit recognized that plaintiffs must put forth an alternative map that is

demonstrated to enhance the ability of minority voters to elect their candidates of choice to satisfy

the Gingles preconditions. 948 F.3d 302, 310 (2020). The Fifth Circuit stated that “‘it is hard to

see’ how the Gingles factors ‘could be met if the alternative to the district decision at issue would

not enhance the ability of minority voters to elect the candidates of their choice.’” Id. at 308

(quoting Abbott v. Perez, 138 S. Ct. 2305, 2332 (2018)). In other words, plaintiffs in a VRA case

must present a viable alternative to the challenged plan or practice that would remedy the alleged


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vote dilution. The Eleventh Circuit recently reached a similar conclusion. See Rose v. State of

Georgia, 87 F.4th 469 (11th Cir. 2023); see also Davis v. Chiles, 139 F.3d 1414 (11th Cir. 1998);

Sanchez v. Colorado, 97 F.3d 1303, 1311 (10th Cir. 1996) (“The inquiries into remedy and

liability, therefore, cannot be separated”); Bone Shirt v. Hazeltine, 461 F.3d 1011, 1025 (8th Cir.

2006) (same). This standard requires an early analysis by the Court of whether there is an adequate

remedy. Rose, 87 F.4th at 482.

       Applying the same concept, the Fifth Circuit recently held that an illustrative plan that is

the product of racial predominance does not satisfy the first precondition. See Robinson, 86 F.4th

at 594–95 & n.4. In Robinson, the Fifth Circuit held that “Courts must also determine if the

illustrative districts have similar needs and interests beyond race.” Id. at 590. The Court analyzed

whether illustrative plans were racial gerrymanders that would violate the Fourteenth Amendment,

id. at 590–95, explaining that the illustrative plans carry “Equal Protection implications” because

they would direct a future “legislatively enacted map” resulting from a § 2 liability finding, see id.

at 595 n.4. The Fifth Circuit “recognized ‘a difference between being aware of racial

considerations and being motivated by them’” and that awareness of race is permissible because

§2 demands such considerations. Id. at 593 (quoting Allen, 599 U.S. at 30). But “[a]warness

becomes racial predominance when the district lines are drawn with the traditional, race-neutral

districting criteria considered after the race-based decision is made.” Id. (emphasis in original)

Another court recently reached a similar holding. See Alpha Phi Alpha Fraternity Inc v.

Raffensberger, 2023 WL 7037537, at *53 (N.D. Ga. Oct. 26, 2023) (recognizing that race cannot

predominate in the drawing of the illustrative plans to satisfy the first Gingles prerequisite). The

Fifth Circuit holding follows directly from Allen. See 599 U.S. at 30 (plurality) (quoting Miller v.

Johnson, 515 U.S. 900 (1995)); see also id. at 58 (Thomas, J., dissenting).




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         Several sources of evidence show that race predominated in this case. 8 Mr. Cooper started

with the enacted maps, 3A.TR 89:24–90:3, and focused only on (a) areas of the state where the

Black population experienced growth and/or there was a corresponding decline in White

population or (b) areas with high BVAP where additional majority-Black districts might be

configured. 3A.TR 90:4–15; 90:23–91:3. He was not asked to, nor did he move any districts lines

to improve compactness or to reduce political subdivision splits. Id. at 61:3–25. He was explicitly

attempting to draw a number of majority-Black districts “in a range that would be reflective of the

overall black population in the state.” Id. at 65:11–19. And to do so, he had to lower the BVAP of

many existing majority-Black districts. Id. at 66:8–12. The sole purpose for moving any line from

the enacted plans in his illustrative plans was to create a new majority-Black district.

         Mr. Cooper claimed that he focused on traditional redistricting principles, but these were

“post hoc justifications [he] in theory could have used but in reality did not.” Bethune-Hill v.

Virginia State Bd. of Elections, 580 U.S. 178, 189–90 (2017). Mr. Cooper admitted that his

illustrative plans did not improve population equality, 3A.TR 75:24–76:1, or core retention (a Joint

Rule 21 principle), id. at 76:2–9. He claims to have drawn his illustrative plans with certain cultural

communities of interest in mind (PL20 ¶ 27), but admitted that his cultural regions were merely

“in the background.” 3A.TR 82:23–83:3. Plaintiffs attempt to justify the illustrative-district

boundaries through the testimony of Dr. Colten, their communities of interest expert. But Mr.

Cooper admitted that he never spoke with Dr. Colten and only saw his report after he drew his




8
 At trial, considerable time was spent on objections to questions and testimony that Plaintiffs perceived as going to
Mr. Cooper’s intent. But Plaintiffs’ counsel directly asked Mr. Cooper, “Did race predominate your drawing of the
maps here?” to which Mr. Cooper responded in pertinent part: “No, it did not. It was one of several factors. I was
constantly balancing traditional redistricting principles.” 3A.TR 19:17–18. Yet several objections were sustained
whenever any of Defendants’ experts—even those not subject to pretrial motions like Dr. Barber—discussed Mr.
Cooper’s intent. See, e.g., 5.TR 183:6–184:12.


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illustrative plans. 3A.TR 76:14–20. Dr. Colten’s opinions thus could not have informed or

motivated Mr. Cooper’s line drawing.

       The same is true of Mr. Cooper’s statements that he relied upon socio-economic data. Mr.

Cooper did not load any of the ACS data into his map-drawing software until after he drew his

plans, 3A.TR 86:18–87:2, 88:6–10, and hence could not have been drawing lines on that basis.

The ACS data that Mr. Cooper purportedly considered outside of his software is reported only at

the parish or municipal level, id. at 84:19–21, and Mr. Cooper did not disaggregate that data to the

census block level, where lines are drawn. Id. at 84:22–85:7. And Mr. Cooper admitted that he did

not look at each ACS reports for each parish and municipality. Id. at 89:3–5.

       Mr. Cooper’s report demonstrates that his predominate purpose was race-based, i.e., a goal

of maximizing majority-Black districts. PL020. Nowhere does Mr. Cooper’s report explain the

bases for district lines that are not racial. For example, in the Shreveport area, Mr. Cooper testified

that he took IHD1 further south into Shreveport to pick up Black population for a new majority-

Black district. 3A.TR 98:1–99:3. Likewise, Mr. Cooper significantly changed the boundaries of

SD17 to anchor his new majority-Black ISD17 in East Baton Rouge Parish to draw in Black

population and then eliminated extending the district west to avoid predominantly White

communities. Id. at 111:8–12:2. As another example, in IHD60, Mr. Cooper admitted that he

combined several municipalities “to create a new majority-Black” district. PL020 ¶ 132. He

offered no other explanation for changing the lines in these areas (or any other), such as reuniting

any municipality or parish, minimizing any subdivision splits, or improving compactness. The

only common index is race. See LULAC, 548 U.S. at 433. Maximization is also not the law under

§ 2. Johnson, 512 U.S. at 1017 (“Failure to maximize cannot be the measure of § 2.”). In fact, even

proportionality is beyond § 2’s dictate: “Forcing proportional representation is unlawful and




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inconsistent with [the Supreme] Court’s approach to implementing § 2.” Allen, 599 U.S. at 28. The

Supreme Court has repeatedly “explained how traditional districting criteria limited any tendency

of the VRA to compel proportionality.” Id. As a result, proportionality is rare and § 2 suits “rarely”

succeed. Id. at 28–29. The Supreme Court in Allen confirmed that this is as it should be, since

redistricting “is primarily the duty and responsibility of the States, not the federal courts.” Id. at

29 (quotation and bracket marks omitted). In Louisiana, where the Legislature created more

majority-BVAP districts than ever before, there is no basis for Plaintiffs to compel more.

         Mr. Cooper maximized majority-BVAP districts, resulting in 14 illustrative majority-

BVAP senate districts and 35 illustrative majority-BVAP house districts (for increases of 7.4% in

the House and 7.1%, respectively, since 2000). SOS_1 at 5–6; LDTX51 at 10–11. But ensembles

of 100,000 and 500,000 simulated house and senate plans 9, configured to respect traditional

redistricting principles and not to achieve racial targets, produce no more than 5-8 majority-BVAP

Senate districts and 18-23 majority-BVAP House districts. SOS_1 at 15, 56; SOS_4 at 9. 10 The

illustrative plans far exceed those figures.

         Mr. Cooper’s line drawing was more than just race-conscious. He pervasively employed

race with surgical and obsessive precision: creating numerous districts just above 50% BVAP to

maximize the number of majority-Black districts.11 Dr. Johnson demonstrated how Mr. Cooper

drew lines without reference to any major roads, communities, neighborhoods or clear visible


9
  As explained by Justice Kavanaugh, “Computer simulations might help detect the presence or absence of intentional
discrimination.” Allen, 599 U.S. at 44 (Kavanaugh, J. concurring). As such, Dr. Barber’s simulations are directly
relevant to determining whether race predominated in the drawing of the illustrative plans.
10
   Dr. Barber’s conclusions are strongly supported by other evidence on the record, such as Mr. Cooper’s admission
that his instructions were to draw more majority-Black districts and the undisputed evidence that Mr. Cooper’s
Illustrative Plans exceed proportionality on a statewide and regional basis. Dr. McCartan criticized various aspects of
Dr. Barber’s simulations, but admitted that his original criticisms were remedied in Dr. Barber’s second report. 7.TR
142:8–18, 161:2–5. Tellingly, Dr. McCartan did not run any simulation studies himself—which he could have easily
done. 7.TR 130:13–19.
11
   At least four Supreme Court Justices held that race predominates when a mapdrawer draws to a racial target. Allen,
599 U.S. at 61-64 (Thomas, J., Gorsuch, J., Barrett, J., Alito, J. dissenting).


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features. See LDTX51 ¶¶ 69–76. Configurations were driven at reaching BVAP numbers just

above 50%. Eleven of the 35 majority Black districts in the illustrative house plan are between

50% and 53% BVAP, PL066; 5.TR 82:4–9, which is eight more than the enacted plans, id. 82:10–

12, and eight illustrative house districts fall between 50.03% and 50.9% BVAP. PL066. Similarly,

9 of 14 illustrative majority-Black senate districts falls between 50 and 53% BVAP. PL047. Such

narrow-banded precision cannot be explained except by the predominance of race as the principal

line-drawing criteria.

       B.      Plaintiffs Did Not Establish the Second and Third Gingles Preconditions.

       Plaintiffs also failed to establish the second and third preconditions, which require proof

that the relevant minority group “is politically cohesive” and that, in the absence of a § 2 remedy,

a White voting bloc will usually “defeat the minority’s preferred candidate.” Allen, 599 U.S. at 18

(citation omitted). “The second and third Gingles preconditions are often analyzed together.”

Christian Ministerial All. v. Sanders, No. 4:19-cv-00402, 2023 WL 4745352, at *16 (E.D. Ark.

July 25, 2023). Plaintiffs failed to prove both for several reasons.

               1.        Failure of Evidence.

       Plaintiffs failed to show both preconditions because their evidence was incomplete and

unreliable to prove Black and White voting preferences. For these inquiries, “the central focus is

upon voting patterns.” Campos v. City of Baytown, Tex., 840 F.2d 1240, 1244 (5th Cir. 1988).

Because the secret ballot prevents direct observation of White and minority voting choices,

proving the second and third preconditions “typically requires statistical evaluation of elections.”

Rodriguez v. Harris Cnty., Tex., 964 F. Supp. 2d 686, 757 (S.D. Tex. 2013), aff’d sub nom.

Gonzalez v. Harris Cnty., Tex., 601 F. App’x 255 (5th Cir. 2015).

       Plaintiffs sponsored the opinion of Dr. Handley to make this showing. But her opinions

were deficient because she did not adequately account for high levels of absentee and early voting.


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See SOS_212 at 11–14. Dr. Handley’s main estimation methods (ecological inference and

ecological regression) “compare the density of a particular population group in a specified area

with the percentage of votes received by a particular candidate in that area.” Perez v. Pasadena

Indep. Sch. Dist., 958 F. Supp. 1196, 1215 (S.D. Tex. 1997), aff’d, 165 F.3d 368 (5th Cir. 1999).

Specifically, they compare the percentage of minority population within precincts against the votes

cast for candidates in those precincts to determine whether there is a correlation between minority

percentages and candidate preferences. 2.TR 18:24–19:8.

         The problem, however, is that about 30% of ballots cast in Louisiana since 2012 were by

early or absentee voting, and that number rose to 45.6% in 2020. SOS_2 at 13. Louisiana does not

link early or absentee ballots to precincts but instead reports these totals by parish. 2.TR 20:24–

21:13. Thus, without a reliable allocation method, a statistical comparison of precinct minority

percentages and voting outcomes will be off by anywhere from 20% to nearly 46%, depending on

the election. See SOS_2 at 13. An error of this size is too large to overlook, see Overton v. City of

Austin, 871 F.2d 529, 539 (5th Cir. 1989) (per curiam), as Dr. Handley admitted, 2.TR 22:20–22. 13

         Dr. Handley attempted to correct for this problem by allocating early and absentee votes to

particular precincts proportionally based on the votes received by each candidate in the election-

day vote. See PL001 at 6 & n.8; 2.TR 21:14–21. But that is unreliable. The point of measuring

voting outcomes against minority percentages in each precinct is to observe whether there is a


12
   SOS_2, SOS_5, and SOS_39 and the testimony of Dr. Solanky were excluded pursuant to the Court’s pretrial ruling,
Doc. 174. Defendants renewed their objection to this exclusion at trial and proffered Dr. Solanky’s reports. 7.TR
45:10–48:3. Notably, Dr. Handley’s supplemental report was received into evidence over Defendants’ objections. The
supplemental report, and Dr. Handley’s testimony, show that Dr. Handley did not disclose the fact that her allocation
method resulted in misallocation of approximately 30.9% of the votes in her database until Dr. Solanky exposed this
flaw. SOS_2 at 13.
13
   In fact, Dr. Handley rejected review of local elections and criticized Dr. Lewis’s district-specific elections analysis
because he analyzed districts where there was overlap of 75% or higher for a given local election because “[t]he other
25 percent could have made a difference in terms of winning or losing.” 7.TR 173:20–:25. Dr. Handley’s own
allocation method effected on average 30.9% of all elections she studied, which is even more likely to make a
difference in her estimates of voting polarization. SOS_2 at 13.


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correlation between the actual votes cast and the minority percentages in each precinct. But to

build that observation on an assumption that about one third of voters (in the absentee and early-

voting context) exhibit the same preferences as about two thirds (in the election-day vote) is to

destroy the process of observation and imputes the preferences of election-day voters onto early-

voting and absentee voters.14

         Moreover, Dr. Handley did not cap the number of absentee and early voting votes assigned

to each precinct by total turnout, so the total votes cast for given candidates was overestimated in

some precincts and underestimated in others. The result is an impossible set of over- and under-

estimates by precinct, which renders Dr. Handley’s opinions so unreliable as to fail the threshold

Daubert standard, see Overton, 871 F.2d at 539, much less to satisfy Plaintiffs’ demanding burden,

Rodriguez v. Bexar Cnty., Tex., 385 F.3d 853, 867 (5th Cir. 2004) (reversing district court’s finding

of White block voting when it rejected statistical analysis because there was “no information” as

to how voters “actually vote” to support the district court’s impermissible assumptions); Growe v.

Emison, 507 U.S. 125, 41–42 (1993) (“a court may not presume block voting even within a single

minority group” (citation omitted)).

         Finally, Defendants renew their objection to the Court’s exclusion of Dr. Solanky’s

opinions. Dr. Solanky’s opinions are typical of defense experts, who “have no burden to produce

models or methods of their own; they need only attack those of plaintiffs’ experts.” In re Zyprexa

Prod. Liab. Litig., 489 F. Supp. 2d 230, 285 (E.D.N.Y. 2007); see also Aviva Sports. Inc. v.

Fingerhut Direct Marketing, Inc., 829 F. Supp. 2d 802, 834-35 (D. Minn. 2011) (collecting cases).

Far from being immaterial, Dr. Solanky’s opinion is highly probative to the question of Dr.


14
   While Dr. Handley insisted “political scientists would endorse” her approach, 2.TR 23:2–5, she did not explain why
it makes sense in this context. It does not. Mail-in voting populations frequently exhibit different voting preferences
from in-person voting populations, and voters of different regions within parishes exhibit different voting preferences.
Imputing others’ preferences on voters is no better than “to ignore” them. 2.TR 22:20–21.


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Handley’s methodology for allocating votes to the precinct level. Indeed, Dr. Handley was

permitted to testify in response to Dr. Solanky’s criticisms of her methodology, even though Dr.

Solanky’s opinions were excluded. 2.TR 58:11-66:1; 111:7-20. Because a failure to show a proper

methodology defeats Plaintiffs’ show regarding polarized voting, Dr. Solanky’s opinions are so

relevant as to possibly make the difference in the outcome.

                2.      Political Polarization.

        Even assuming Dr. Handley’s estimates were reliable, Plaintiffs still failed to prove legally

significant polarized voting because differences in candidate preferences among White and Black

voters reflect a partisan, not racial, divide. Section 2 “is a balm for racial minorities, not political

ones—even though the two often coincide.” Baird v. Consol. City of Indianapolis, 976 F.2d 357,

361 (7th Cir. 1992) (citation omitted). If “partisan affiliation, not race, best explains the divergent

voting patterns among minority and white citizens,” then there is no “legally significant” racially

polarized voting under the third Gingles precondition. League of United Latin Am. Citizens,

Council No. 4434 v. Clements, 999 F.2d 831, 850 (5th Cir. 1993) (en banc). This is so because

“[t]he Voting Rights Act does not guarantee that nominees of the Democratic Party will be elected,

even if black voters are likely to favor that party’s candidates.” Id. at 854 (quotation omitted).

VRA § 2 “is implicated only where Democrats lose because they are black, not where blacks lose

because they are Democrats.” Id. As the Fifth Circuit explained in LULAC, Council No. 4434, a

majority of Justices in Gingles held § 2 liability does not lie where different candidate preferences

reflect “interest-group politics.” See id. at 855–59.

        In this case, as in LULAC, Council No. 4434, the evidence “shows that divergent voting

patterns among white and minority voters are best explained by partisan affiliation.” Id. at 861.

Whereas Dr. Handley looked only to contests with Black candidates, 2.TR 24:10–24, Dr. Alford

looked to a broader range of elections—including “fully racially contested election[s],”


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“nonracially contested elections,” and “partially racially contested election[s],” 4.TR 106:7–10—

to make comparisons necessary to determine whether voting preferences exhibit partisan

polarization or racial polarization. Id. at 110:24–111:22; 117:8–18.

        The data show the former. Beginning with federal contests, the results show that Black

support for Black Democratic presidential candidate Obama matched Black support for White

Democratic candidates Clinton and Biden, and that White support for White Republican candidates

remained stable regardless of whether the Democratic opponent was White or Black. LDTX53 at

7; 4.TR 107:19–109:2. The pattern of partisan (not racial) polarization also appears in the state

elections Dr. Handley analyzed. Black voters consistently support Democratic candidates, but not

necessarily Black candidates. See LDTX52 at 9. In the 2015 attorney general contest and the 2020

senate contest, Black voters cohesively supported Democratic candidates but were divided among

Black (Democratic) candidates; in the 2018 secretary of state contest, Black voters cohesively

supported Democratic candidates but gave substantial support to a White Democrat; in the

November 2020 senate contest, Black voters were divided among three candidates and gave more

support to one White candidate (Mixon) over one Black candidate (Steib). 4.TR 112:10–115:7;

LDTX53 at 9–10.

        In contests Dr. Handley did not analyze, Dr. Alford found that Black voters cohesively

supported Democratic candidates but not necessarily Black candidates. 15 LDTX53 at 9–10. In

contests between only Republican candidates, the Black vote loses its cohesion. LDTX53 at 14;

4.TR 120:10–122:12. And, in most all contests, White voters cohesively support Republican




15
   For example in the 2015 and 2019 gubernatorial races and the October 2019 agriculture commissioner race, where
the Black vote went to White Democrats over a Black Democrats; and the October 2015 insurance commissioner race,
the November 2015 and 2019 gubernatorial run-off, where the Black vote cohesively supported Democratic candidates
in the absence of a racial choice. 4.TR 118:3–119:13; LDTX53 at 9–10.


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candidates regardless of a racial choice on the ballot.16 LDTX53 at 7–15. The polarization is thus

consistently political, not racial.

         Plaintiffs do not effectively rebut this point. Their expert, Dr. King, “agree[s] with Dr.

Alford’s data;” agrees “that Black support for the Democratic candidates is consistent, whether

those candidates are Black or White;” and agrees “that White voters are overwhelmingly

Republican.” PL133 at 6–7. Dr. King further agreed there was “evidence of party polarization.”

7.TR 53:24–25. Attempting to show racial polarization, Dr. King erroneously looked solely at

votes cast by registered Democrats. PL133 at 4–7; 7.TR 53:18–54:14. But Dr. King’s cherry-

picked analysis is misdirected and unavailing. Dr. King admits that White voters consistently vote

Republican overall; by focusing purely on White registered Democrats, Dr. King ignores the

voting behavior of a super-majority of White voters’ behavior (who do not vote for Democrats),

and therefore disregards data highly which is highly relevant to the question of polarization.

         Dr. Handley makes the same error, opining that “White voters consistently provide more

support to White Democrats than they do to Black Democrats” but admitting “White voters do not

provide much support to either White or Black Democratic candidates.” PL012 at 10. Looking to

a very small subset of White voters ignores that White voters supporting Republicans are the ones

whose choices Plaintiffs count as racially polarized, even though Dr. King admitted that technique

does not allow one to “evaluate . . . racial polarization separate from party polarization” for all but

a small subset of White voters. 7.TR 103:23–104:4. Only Dr. Alford’s analysis gets at the relevant

question whether their choices are political or racial in character in Louisiana.




16
   The exception is White support for Democrat John Bel Edwards, but his conservative positions on salient issues
(like abortion and gun rights) only underscore the partisan basis for voting patterns, as it shows Republican voters will
“cross over” party lines to vote for a candidate conservative on such issues, not because of race. 4.TR 119:14–120:2.


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         Further, in determining that White registered Democrats are more likely to vote for White

candidates, Dr. King’s analysis does not address whether that cause is partisan or racial. In

particular, Dr. King appears to presume that Democratic registration shows a willingness of the

registrant to vote for Democratic candidates, but voters often do not update their registration as

their political views change. That is particularly true in Louisiana, where there are more registered

Democrats than Republicans but where Republican candidates have a decided edge. See PL133 at

2. The fact that many White registered Democrats apparently support White Republicans only

demonstrates that Republican candidates (regardless of race) reflect their increasingly conservative

political views (more than their outdated registration status)—not that they refuse to support Black

candidates on the basis of those candidates’ race. 17

         Ultimately, Plaintiffs prove too much in their assertion that conservatism and Republican

Party support is a racially polarized choice. See PL133 at 8–10. All Dr. King does is define policy

differences—such as diverging views over “drug legalization” and “police” policies—as racial

differences. Id. at 8–9. But the fact that differing views on these questions often follow racial lines

does not turn political differences into racial polarization. The point of the inquiry is to differentiate

these patterns. See LULAC, Council No. 4434, 999 F.2d at 850–59. Plaintiffs’ position would

effectively codify various left-of-center platforms—e.g., police defunding, drug legalization,

ending school standardized tests, etc.—as enjoying special VRA protection, such that jurisdictions

that do not implement them risk § 2 liability.

         That is why Dr. Alford focuses on policy positions that directly concern race, not politics,

and he found that racial polarization is waning. LDTX53 at 16–17. Plaintiffs are incorrect in their


17
   Similar to Dr. King’s report, PL133, Dr. Solanky’s report, SOS_2, showed voter registration and turnout trends of
Republican, Democrat, and Unaffiliated voters, and broke down the trends for Republicans and Democrats based on
race. SOS_2 at 4-11. This is yet another piece of probative evidence that Plaintiffs were permitted to submit evidence
in support of, but that Defendants were not permitted to rebut at trial.


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apparent belief that § 2 creates a right to court-ordered Democratic Party success and Republican

failure.

                  3.      No Legally Significant White Bloc Voting.

           Plaintiffs further did not prove the existence of an “amount of white bloc voting that can

generally ‘minimize or cancel’ black voters’ ability to elect representatives of their choice.”

Gingles, 478 U.S. at 56 (citations omitted). The question is not merely “whether white residents

tend to vote as a bloc, but whether such bloc voting is ‘legally significant.’” LULAC, Council No.

4434, 999 F.2d at 850 (citations omitted). “[I]n the absence of significant white bloc voting it

cannot be said that the ability of minority voters to elect their chosen representatives is inferior to

that of white voters.” Voinovich v. Quilter, 507 U.S. 146, 158 (1993) (quoting Gingles, 478 U.S.

at 49 n. 15). That is, “[i]n areas with substantial crossover voting” a challenger will not “be able

to establish the third Gingles precondition—bloc voting by majority voters.” Bartlett v. Strickland,

556 U.S. 1, 24 (2009). For example, in Abrams v. Johnson, 521 U.S. 74 (1997), the Supreme Court

concluded that majority-Black districts were unnecessary because “the average percentage of

whites voting for black candidates across Georgia ranged from 22% to 38%.” Id. at 92 (citation

omitted). According to governing precedent, crossover voting becomes “substantial” when it arises

to the level that “a VRA remedy,” i.e., a majority-Black district, is not necessary to enable the

Black community to usually elect its preferred candidates. Covington v. North Carolina, 316

F.R.D. 117, 168 (M.D.N.C. 2016), aff’d, 137 S. Ct. 2211 (2017).

           The unrebutted evidence shows that no VRA remedy is necessary to replace the districts

Plaintiffs challenge. As in Abrams, White crossover voting is high, ranging from 18% to 27% on

average, and it is higher in two-candidate contests (such as runoffs) than in contests with three or

more candidates. See LDTX54 at 3. The minimum BVAP needed to create equal opportunity is

well below 50% on average, ranging from 23% to 40%, depending on the type of election. Id.


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Plaintiffs side-stepped the issue. They tendered the expert known for introducing in literature the

method for determining “BVAP needed to win” a particular district, 6.TR 229:20–230:6, but did

not ask her to perform that analysis. 2.TR 67:23–68:3. Dr. Handley explained she did not conduct

that analysis because she “focuse[d] on the residents of the proposed district,” 2.TR 69:4–16, but

the BVAP needed to win analysis does the same by analyzing voting demographics and behavior

on a district-level basis. See 6.TR 223:21–227:23 (Dr. Lewis testimony regarding whether a

“particular district provide[s] opportunity” to elect). In literature, Dr. Handley has guided that “a

district-specific analysis that includes an analysis of voting patterns” would provide an indication

of how to adjust for less than perfect minority voting cohesion, less than 100 percent White

Democratic crossover voting, and less than equal minority and White voting age participation

rates. SOS_ 36 at 19; 7.TR 204:11–205:2. But in this case, and contrary to her own guidance, Dr.

Handley chose to aggregate her analysis to a regional level and to not report district-specific

estimates on voting cohesion, crossover voting, or participation rates. 7.TR 207:16–208:24.

       Only Dr. Lewis conducted and reported that analysis and his numbers are stark. He

estimated support in “tens of thousands” of different combinations of candidate contests, 6.TR

232:23-233:4, and reported out district-specific results in four different types of elections. LDTX

52 at B-2-25. His estimates—which Dr. Handley does not contest the accuracy of, 7.TR 190:13–

15—show that none of Plaintiffs’ illustrative districts require 50%+ BVAP to perform. LDTX62

(showing average percent BVAP needed for win never exceeding 49% for any of Plaintiffs’ new

districts in any of the four types of elections analyzed). Dr. Handley “define[s]” an “effective

district” for performance as one in which “the Black-preferred Black candidate wins more than

50% of the contests examined.” PL001 at 16. Dr. Lewis’ district-specific analysis shows that none

of Plaintiffs’ proposed majority-Black Senate districts require 50% or greater BVAP to achieve a




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50 percent win rate. LDTX54 at 7-8. Of Plaintiffs’ proposed majority-Black house districts, only

one requires greater than 50% BVAP for a 50 percent win rate, two require exactly 50% BVAP

for that same rate, and the remaining 32 proposed majority-Black house districts do not need 50%

BVAP to be “effective” under Plaintiffs’ expert’s definition. LDTX54 at 7. The Louisiana

Legislature could not have enacted Mr. Cooper’s illustrative plans because they do not meet

Gingles I and III and, therefore, do not satisfy the narrow tailoring element required for strict

scrutiny. See Wis. Legislature v. Wis. Elections Comm’n, 595 U.S. 398, 402–03 (2022) (per

curiam); Cooper, 581 U.S. at 305.

        C.      Totality of the Circumstances.

        Finally, even if Plaintiffs had established the Gingles preconditions, their claims fail under

the totality-of-the-circumstances inquiry. “Satisfaction of” the Gingles “‘preconditions’ is

necessary, but not sufficient, to establish liability.” Fusilier v. Landry, 963 F.3d 447, 455 (5th Cir.

2020). “Plaintiffs must also show that, under the ‘totality of circumstances,’ they do not possess

the same opportunities to participate in the political process and elect representatives of their

choice enjoyed by other voters.” Id. (citation omitted). Even if Plaintiffs had shown the three

Gingles preconditions, that is not enough where “other considerations show that the minority has

an undiminished right to participate in the political process.” Baird, 976 F.2d at 359. The Court

“is instructed to evaluate the totality of the circumstances with a ‘functional view of the political

process’” and “[a] searching and practical review of electoral conditions.” Fusilier, 963 F.3d at

456, 462. Plaintiffs’ claim fails this inquiry.

                1.      Plaintiffs’ Demand for Better That Proportionality Lacks a Foundation in
                        § 2.

        Plaintiffs’ § 2 claim lacks merit because it demands the creation of more majority-Black

districts than the proportion of Black voting-age persons in the regions Plaintiffs challenge and in



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Louisiana. Plaintiffs have not shown that § 2 mandates more than proportionality, especially here,

where the challenged plans already have majority-Black districts in substantial proportionality to

the Black voting-age population.

        As the Supreme Court has explained, one “may suspect vote dilution from political famine,

but one is not entitled to suspect (much less infer) dilution from mere failure to guarantee a political

feast.” Johnson, 512 U.S. at 1017. Accordingly, vote dilution will ordinarily not be found where

minority voters in the relevant “area would enjoy substantial proportionality,” id. at 1014, such as

where the districting plan offers “majority-minority districts in substantial proportion to the

minority’s share of voting-age population.” Id. at 1013. See also LULAC, 548 U.S. at 436 (finding

it proper to look “first to the proportionality inquiry” in weighing the circumstances).

        In this case, Plaintiffs demand a political feast where the challenged plans afford more than

equal opportunity. The enacted plans create 40 majority-Black districts (29 in the House and 11 in

the Senate), see SOS_1 at 8, and thereby “thwart [any] historical tendency to exclude [African-

Americans], not encourage or perpetuate it.” Johnson, 512 U.S. at 1014. That is true at the local

geographic areas at issue in this litigation and at the statewide level. By demanding nine more

majority-Black districts, which substantially exceeds proportionality—something that § 2(b)

expressly disavows requiring—Plaintiffs effectively define vote-dilution as the “failure to

maximize” majority-Black districts, which “cannot be the measure of § 2.” Id. at 1016–17.

        Plaintiffs demand the creation of nine new majority-Black districts (six in the house, three

in the senate) in various regions. However, the additional majority-Black districts Plaintiffs

demand exceeds the number of such districts that rough proportionality to the Black voters’ share

of the voting-age population in those regions.




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       To begin, as in Johnson, “the relevant population” for the proportionality analysis is the

BVAP population in the geographic areas Plaintiffs identified as the locus of vote dilution. 512

U.S. at 1017; see also id. at 1021–22. The analysis must be regional in scope for several reasons.

First, as in Johnson, Plaintiffs have “litigated” this case on “smaller geographical scale[s]” than

the entire house and senate plans. See id. Plaintiffs have clarified that they challenge only “specific

districts” in “specific areas”—namely, “the Shreveport area, Jefferson Parish, and in the East

Baton Rouge area” of the enacted senate plan and “the Shreveport area, the East Baton Rouge area,

the Ascension area, the Lake Charles area, and the Natchitoches area” of the enacted house plan.

Doc. 163 at 2. Where challengers’ claims focus on regions of a state, courts—following Johnson—

have conducted the proportionality analysis by region. See, e.g., Rural W. Tennessee Afr.-Am. Affs.

Council v. Sundquist, 209 F.3d 835, 844 (6th Cir. 2000); Rodriguez v. Pataki, 308 F. Supp. 2d 346,

428 (S.D.N.Y.), aff’d, 543 U.S. 997 (2004); Soto Palmer v. Hobbs, No. 3:22-CV-05035, 2023 WL

5125390, *10 & n.11 (W.D. Wash. Aug. 10, 2023), petition for cert. docketed Trevino v. Palmer,

No. 23-489 (U.S. Nov. 7, 2023). This Court should too.

       Second, foundational § 2 principles require that the analysis “should ordinarily” occur at

the local level. Rural W. Tennessee Afr.-Am. Affs., 209 F.3d at 843. The Supreme Court has rejected

the theory that § 2 protection “belongs to the minority as a group and not to its individual members”

and concluded that, as a result, § 2 liability “is proved for a particular area.” Shaw v. Hunt, 517

U.S. 899, 917–18 (1996) (“Shaw II”). Absent unique circumstances, such as “racially polarized

voting—and the possible submergence of minority votes—throughout” a state, LULAC, 548 U.S.

at 438, the analysis should be local, see Soto Palmer, 2023 WL 5125390, at *10 n.11; Rural W.

Tennessee Afr.-Am. Affs., 209 F.3d at 843.




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        Third, the size and numerosity of Louisiana legislative districts counsels in favor of a

regional approach. Louisiana’s 105 house and 39 senate districts plainly afford representation on

a more localized basis than its much-less-numerous and necessarily much-larger six congressional

districts. And “[a] statewide assessment of proportionality seems particularly inappropriate here

where the interests and representation of” voters in “rural and agricultural” regions “may diverge

significantly from those who live in” other areas. Soto Palmer, 2023 WL 5125390, at *10 n.11. It

is difficult to see how a claim of vote dilution can be “based on a statewide plan” in this context,

LULAC, 548 U.S. at 438, where various regions of the state operate and can be configured and

reconfigured independently of each other.

        Viewed from that correct regional vantagepoint, the relevant Black communities enjoy at

least substantial proportionality, and often better. The enacted house plan provides substantial

proportionality or better in several regions. In the Shreveport region, three out of eight districts are

majority-BVAP (37.5%) in a region of 39.1% BVAP, SOS_1 at 70. See Johnson, 512 U.S. at 1014

(finding substantial proportionality in 50% Hispanic VAP region where 45% of districts were

majority-Hispanic). In Lake Charles, one of five enacted house districts is majority-BVAP (20%)

in an area with 25.1% BVAP. SOS_1 at 86. In Baton Rouge, six of eleven enacted house districts

are majority-BVAP (54%) in a region with 43.9% BVAP. SOS_1 at 93; 6.TR 30:10-21. And in

the Iberville-Ascension region, one of four enacted house districts is majority-BVAP (25%) in an

area with 29% BVAP. SOS_1 at 102.

        In each of these regions, to add another majority-BVAP district would exceed

proportionality, typically by a large margin. And Plaintiffs demand that and frequently more. For

example, the additional two districts in the Baton Rouge region they seek would make 73% of the

districts become majority-Black in a 44% BVAP region. See 6.TR 30:10–13, 30:22–31:4. But in




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all of these instances, substantial proportionality already exists in the enacted house plan. See

Fairley v. Hattiesburg Mississippi, 662 Fed. Appx. 291, 299 (5th Cir. 2016).The VRA requires no

more.

        Likewise, in the enacted senate plan, substantial proportionality already exists in each

region that Plaintiffs challenge. In the Shreveport Region, one of three districts is majority-BVAP

(33.33%) in a region with 39.1% BVAP. SOS_1 at 32. In Jefferson and St. Charles, one of five

enacted senate districts is majority-BVAP (20%) in a region with 26.6% BVAP. SOS_1 at 40.

Finally, in Baton Rouge, three of eight enacted senate districts are majority-BVAP (37.5%) in a

region with 34.3% BVAP. SOS_1 at 47. In each of these regions, to add even one additional

majority-BVAP district would exceed proportionality, typically by a large margin. In all cases,

Plaintiffs demand that the Court “guarantee a political feast,” Johnson, 512 U.S. at 1017, which

§ 2 does not require. Indeed, § 2(b) explicitly provides that “nothing in this section [§ 2] establishes

a right to have members of a protected class elected in numbers equal to their proportion in the

population.” 52 U.S.C. §10301(b). But Plaintiffs here would not even be content with “numbers

equal to their proportion in the population,” and instead contend that § 2 demands representation

disproportionately in their favor. The VRA does no such thing.

        The statewide analysis does not yield a different result, as the enacted plans satisfy the

“rough proportionality” standard statewide too, Johnson, 512 U.S. at 1023. Louisiana has a 31.25%

BVAP according to the 2020 Census. SOS_1 at 5. Exact proportionality—which is not required—

would call for 12 majority-Black Senate districts out of 39 total, and 33 majority-Black House

districts out of 105 total. SOS_1 at 5, 8. The enacted senate plan includes 11 majority-Black

districts, which is 28.2% of the 39 total state senate districts, a 3% difference. SOS_1 at 8. The




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enacted house plan has 29 majority-Black districts, which is 27.6% of the 105 total state house

districts, less than a 4% difference. SOS_1 at 8. See also 3A.TR 88:24–89:4.

       The fact that the enacted plans fall “just short of perfect proportionality” provides no basis

for § 2 liability. Johnson, 512 U.S. at 1013–14, 1023–24. The Supreme Court subsequently

explained that “[t]here is, of course, no ‘magic parameter,’ and ‘rough proportionality,’ must allow

for some deviations.” LULAC, 548 U.S. at 438. The Court in LULAC therefore assumed that a

16% to 22% comparison between the percentage of majority-Latino districts and Latino citizen

voting-age percentage qualified as substantially proportionate—a six-point gap that is substantially

larger than here. See id. Lower courts have followed suit, upholding deviations in the range of the

2022 enrolled plans’ deviation—and beyond—under the rough proportionality standard. See, e.g.,

McConchie v. Scholz, 577 F. Supp. 3d 842, 863 (N.D. Ill. 2021) (finding substantial proportionality

in comparisons of 8.5% and 10% representation with 11.1% minority percentage); Luna v. Cnty.

of Kern, 291 F. Supp. 3d 1088, 1133 (E.D. Cal. 2018) (20% majority-Hispanic CVAP districts

found proportional in 30% Hispanic CVAP jurisdiction). The enacted plans easily satisfy this

standard.

       Plaintiffs’ illustrative plans, by contrast, exceed statewide proportionality. Plaintiffs’

illustrative senate plan includes 14 majority-Black districts—equaling 35.9% of all districts against

31.25% BVAP. SOS_1 at 5, 8. Their illustrative house plan provides 35 majority-Black districts—

33.3% of all districts. SOS_1 at 6, 8. The enacted plans do not create a “political famine” that

suggests vote dilution; rather Plaintiffs’ illustrative plans instead create a “political feast” that

Section 2 does not require. See Johnson, 512 U.S. at 1017. Plaintiffs’ demand for greater than a

proportional number of majority-Black districts reflects an attempt to maximize the number of

majority-Black districts in Louisiana’s legislative district plans, which “cannot be the measure of




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§ 2.” Id.; see also Miller v. Johnson, 515 U.S. 900, 909 (1995) (rejecting a “maximization

agenda”); Shaw II, 517 U.S. at 913.; Bush v. Vera, 517 U.S. 952, 960 (1996) (plurality opinion).

       Under the circumstances of this case, the substantial proportionality of the enacted plans

confirms that there is no vote dilution. While Johnson declined to treat substantial proportionality

as a “safe harbor,” 512 U.S. at 1019, that case and its progeny make clear that demands for better

than proportionality can succeed only in rare circumstances not present here. Johnson notes

proportionality would not be a legitimate § 2 defense “in cases of alleged dilution by the

manipulation of district lines,” such as where a jurisdiction gerrymandered its districts to

counteract the natural creation of majority-minority districts beyond the minority’s proportion of

the population due to the state’s political geography and application of neutral criteria. Johnson,

512 U.S. at 1018–19. LULAC was an example of that: there the Court found the Hispanic group’s

likely proportionality offset by “other evidence of vote dilution,” including that the Hispanic

community was growing and becoming increasingly active—only to see a functional Hispanic-

majority district dismantled. 548 U.S. 399–41.

       Nothing remotely equivalent is present here. Louisiana’s plans contain more majority-

BVAP districts than any maps of prior decades, despite the general stability of the State’s BVAP

over that time. The plans also substantially exceed the number of majority-Black districts in plans

simulated to achieve neutral criteria. Instead, the only way to achieve the maximization Plaintiffs

demand is by the intentional and intensive use of race in drawing districts specifically combine

non-compact minority populations into districts a smidgen above 50% BVAP—in a nutshell:

aggressive racial gerrymandering. Likewise, there is no evidence of invidious electoral

manipulation. See Johnson, 512 U.S. at 1018 (giving, as examples of such “reprehensible

practices,” techniques like “ballot box stuffing, outright violence, discretionary registration”).




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       Johnson suggested § 2 might command more than proportionality to avoid an outcome

where “the rights of some minority voters under § 2 may be traded off against the rights of other

members of the same minority class,” as might occur where “the most blatant racial

gerrymandering in half of a county’s single-member districts” were alleged to be would be “offset

by political gerrymandering in the other half.” 512 U.S. at 1019. That is not so here, where

Plaintiffs’ demands exceed proportionality at every level, both statewide and regional.

       It is clear that the predominant—indeed overwhelming—motive of Plaintiffs’ illustrative

plans was to maximize the number of majority-Black districts. Mr. Cooper even admitted to

drawing to a racial target. But, even if Plaintiffs’ illustrative plans merely sought proportionality,

any order by the court ordering their adoption would be subject to a “strict scrutiny” analysis.

Fairley, 62 Fed. Appx. at 300 (citing Miller, 515 U.S. at 915–16); Cooper, 518 U.S. at 305. But

Plaintiffs here don’t seek mere proportionality–rather they affirmatively seek disproportionality

weighted in their favor. Such transparent and aggressive use of race to maximizes the number of

majority-Black districts does not satisfy strict scrutiny. Miller, 515 U.S. at 927-28; Wis.

Legislature, 142 S. Ct. at 402–03. Because Plaintiffs’ illustrative plans seek extra proportionality

and are drawn to a racial target, they are illegal and not proper illustrative plans for this Court to

consider. Id.

                2.     Additional Factors Undercut Plaintiffs’ Claim.

       Plaintiffs have failed to meet their burden of showing vote dilution under the totality of the

circumstances. Fusilier, 963 F.3d at 455. Plaintiffs’ evidence of a “history of official

discrimination,” Gingles, 478 U.S. at 37 (citation omitted), is not recent. The discrimination they

cite has no iteration past 1975—nearly a half century ago—and more recent data points (such as

unemployment and school suspensions) are not necessarily evidence of discrimination (as there is

no evidence concerning employability or error in suspension). See PL126 at 6–12.


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         The evidence shows that “members of the minority group have been elected to public office

in the jurisdiction” in large numbers. Gingles, 478 U.S. at 37 (citation omitted) (describing Senate

Factor 7). Dr. Burch conceded the Legislature has about 25% Black members. PL126 at 25. Dr.

Burch obfuscates this by measuring that this factor against strict proportional representation.,

3B.TR92:19–93:2, even though Section 2 expressly disavows a right to proportional

representation. 52 U.S.C. § 10301(b). In doing so, Dr. Burch demands what Section 2 explicitly

disavows: “nothing in this section establishe[]s a right to have members of a protected class elected

in numbers equal to their proportion in the population.” Id. § 10301(b). But the Senate Report

described, as “probative” of unequal opportunity, evidence that “no members of a minority group

have been elected to office” or that only “a few minority candidates” had been. S. Rep. No. 97-

417 at 29 n. 115 (1982), reprinted in 1982 U.S.C.C.A.N. 177. 25% of the Legislature is lightyears

beyond no (or “a few”) members.

         The functional reality of the political process is that Black voters have an equal opportunity

to participate in the political process in Louisiana. Black registered voters make up not only the

majority of registered Democrats in the state of Louisiana, but also a majority of Democrats voting

in elections including statewide contests over the last decade. See SOS_5 at 8, 10; SOS_218. Every

single leadership position in the Democratic Caucus in the Louisiana Legislature is held by a

member of the Louisiana Legislative Black Caucus. 19 The House has 33 Democrat




18
   Dr. Solanky’s reports speak directly to these points, which is another reason why his testimony and reports should
not have been excluded.
19
   In the House of Representatives, Rep. Sam Jenkins is the Chairman of the Democratic Caucus, Rep. Matthew
Willard is the Vice Chair, and Rep. Randal Gaines is the whip. https://house.louisiana.gov/H_Reps/H_Reps_
Caucus_Democrats (last accessed Dec. 18, 2023). In the Senate, Senator Gerald Boudreaux is the Chairman of the
Senate Democratic Caucus. https://louisianademocrats.org/our-party/our-leaders/ (last accessed Dec. 18, 2023). All
are members of the Louisiana Legislative Black Caucus. https://www.house.louisiana.gov/llbc/index_members (last
accessed Dec. 18, 2023).


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Representatives,20 and the Senate has 12 Democratic Senators. 21 By exerting effective control over

one of two major parties, the Black community has an opportunity to participate and elect

candidates. Furthermore, Dr. Alford’s reports and testimony show that any polarization is political,

not racial. See Lopez v. Abbott, 339 F.Supp.3d 589, 602-03 (S.D. Tex. 2018) (holding the plaintiffs

met the Gingles preconditions, but failed the totality of the circumstances because political

polarization was “the better explanation for the defeat of minority-preferred candidates at the

polls”). See LDTX53 at 7–15.

         Plaintiffs also do not show “lack of responsiveness on the part of elected officials to the

particularized needs of the members of the minority group.” Gingles, 478 U.S. at 37 (citation

omitted). Their expert contends that “[p]olicy outcomes do not track the specific needs of the

minority community,” PL126 at 4, but § 2 does not guarantee particular policy outcomes.

Furthermore, nearly all the examples used to claim a “lack of responsiveness” were (1) the enacted

plans at issue in this case itself; (2) unrelated to the Legislature 22; or (3) statements from a U.S.

Senator—who runs statewide from boundaries set by Congress, which are thus outside the purview

of the Louisiana Legislature. 3B.TR 92:19–93:2. This evidence cannot establish unresponsiveness

on the part of the Louisiana Legislature.

IV.      PLAINTIFFS’ CONSTRUCTION OF SECTION 2 VIOLATES THE
         CONSTITUTION AS APPLIED HERE.

         Even if Section 2 could even theoretically sustain the racially maximalist construction that

Plaintiffs give it, such a construction would squarely violate the Constitution. Johnson, 512 U.S.

at 1016; LULAC, 548 at 446; Bartlett, 556 U.S. at 21–22. And, at a bare minimum, Plaintiffs’


20
   https://house.louisiana.gov/H_Reps/H_Reps_Caucus_Democrats (last accessed Dec. 18, 2023).
21
   https://senate.la.gov/Senators_FullInfo (last accessed Dec. 18, 2023).
22
   Dr. Washington testified regarding an issue she recently had with her absentee ballot. 1.TR 98:1–103:15. But Dr.
Washington’s testimony did not show a lack of responsiveness on the part of elected officials; just the opposite. Dr.
Washington received multiple text messages regarding the issues with her ballot, id. at 98:18–99:11, and was able to
correct the issue at the voter registration office and have her vote counted. Id. at 109:6–8.


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construction of § 2 invites severe doubts as to whether that statutory provision can be

constitutionally applied in that manner. And where “a serious doubt is raised about the

constitutionality of an act of Congress, it is a cardinal principle that [courts must] first ascertain

whether a construction of the statute is fairly possible by which the question may be avoided.”

Jennings v. Rodriguez, 138 S. Ct. 830, 842 (2018) (quotation omitted).

       The VRA “‘imposes current burdens and must be justified by current needs.’” Shelby

County, Ala. v. Holder, 570 U.S. 529, 536 (2013) (emphasis added) (citation omitted). Thus, “even

if Congress in 1982 could constitutionally authorize race-based redistricting under § 2 for some

period of time, the authority to conduct race-based redistricting cannot extend indefinitely into the

future.” Allen, 599 U.S. at 45 (Kavanaugh, J., concurring).

       Although a five-member majority found the remedy that plaintiffs sought in Allen under

§ 2 within Congress’s remedial authority, see id. at 38–42, Justice Kavanaugh cast the fifth vote

and expressly noted that a “temporal argument” was not within Allen’s holding because “Alabama

did not raise” it. Allen, 599 U.S. at 45 (Kavanaugh, J., concurring). But Defendants explicitly raise

it here. And it is plain that predominance of race that pervades Plaintiffs’ § 2 arguments would

render that provision unconstitutional as applied if accepted by this Court.

       VRA § 2 “imposes current burdens and must be justified by current needs.” Nw. Austin

Mun. Util. Dist. No. One v. Holder, 557 U.S. 193, 203 (2009). That is because Congress’s power

to enforce the Reconstruction Amendments is “remedial,” not “substantive,” City of Boerne v.

Flores, 521 U.S. 507, 519 (1997), so it must “tailor its legislative scheme to remedying or

preventing [unconstitutional] conduct,” Fla. Prepaid Postsecondary Educ. Expense Bd. v. Coll.

Sav. Bank, 527 U.S. 628, 639 (1999). That requirement is particularly essential where Congress

seeks to abrogate states’ sovereign immunity, see id. at 639–48, which the Fifth Circuit has held it




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did in § 2, Robinson, 86 F.4th at 588. In § 2, Congress went beyond the contours of the

Reconstruction Amendments to prohibit election schemes that are not unconstitutional. See Allen,

599 U.S. at 41. This prophylactic approach falls on the outer edge of Congress’s authority, see City

of Boerne, 521 U.S.at 530–32, necessitating “evidence that unremedied” unconstitutional conduct

is “a problem of national import,” Fla. Prepaid, 527 U.S. at 641. Because § 2 “imposes current

burdens” by invalidating election laws that are not unconstitutional, those burdens must be

justified, and that is so regardless of whether § 2 “differentiates between the States.” See Nw.

Austin, 557 U.S. at 203 (deeming differential treatment and independent basis for this duty).

       Moreover, Congress in § 2 has gone further and created constitutional difficulties by

imposing a scheme that is not “race-neutral.” Allen, 599 U.S. at 23; see Miller, 515 U.S. at 926–

27 (discussing the “troubling questions” raised by a requirement of race-based redistricting). Allen

held that Congress may properly “authorize[] race-based redistricting,” based on Supreme Court

“precedent,” id. at 43, but was not presented with the question whether that authority is justified

by current needs. It must be so justified. Congress’s authority to effectuate “racial or ethnic

criteria” is, when exercised, subject to “close examination,” which it satisfies only with “abundant

evidence from which it could conclude” that such criteria are necessary. See Fullilove v. Klutznick,

448 U.S. 448, 472, 477–78 (1980) (plurality opinion); City of Richmond v. J.A. Croson Co., 488

U.S. 469, 503–04 (1989). Although it “may legislate without compiling the kind of ‘record’

appropriate with respect to judicial or administrative proceedings,” Fullilove, 448 U.S. at 478

(plurality opinion), its decisions nonetheless require “evidence” of some kind, Fla. Prepaid, 527

U.S. at 640–41; City of Boerne, 521 U.S. at 530–31.

       In establishing the VRA’s scope, including by amending § 2 to reach beyond constitutional

prohibitions, see Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321, 2332 (2021), Congress




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made “‘findings’ that each of the protected minorities is, or has been, the subject of pervasive

discrimination and exclusion from the electoral process.” Nixon v. Kent Cnty., 76 F.3d 1381, 1390

(6th Cir. 1996) (en banc). As of 1982, there were “extensive congressional findings of voting

discrimination,” S. Rep. No. 97–417, 97th Cong.2nd Sess. 28 (1982), U.S. Code Cong. & Admin.

News 1982, p. 192, including in conjunction with VRA amendments in the prior decade, see, e.g.,

S. Rep. No. 94-295 at 28–30. But Congress has made no findings in recent decades that may justify

§ 2’s limitless temporal reach, and it has made no adjustments to § 2’s scope or standard tailored

to current (or even recent) conditions. See Shelby Cnty., 570 U.S. at 553–54 (discussing

deficiencies in most recent findings of 2006). There can be no doubt that “[o]ur country has

changed,” id. at 557, but § 2 has not. Its current burdens thus must be justified by current evidence

that Plaintiffs have refused to offer here.

       Notably, the number of majority-Black districts drawn by the Legislature here is the highest

number ever in the history of Louisiana. SOS_1 at 8. It exceeds the number of majority-Black

districts drawn in 2011, which the Obama Administration pre-cleared under § 5. See id. But while

racial polarization of voting has generally decreased over time, Plaintiffs here are not content with

the highest number of majority-Black districts ever that the Legislature has drawn—a map

reflecting a level of race consciousness that already approaches the limits of what the Equal

Protection Clause and Fifteenth Amendments permit. Plaintiffs’ racially maximalist reading of § 2,

which demands over-representation of majority-Black districts—is plainly a constitutional bridge

too far. It reflects a view of § 2 that would have been constitutionally dubious—at best—in 1982.

Today it is constitutionally indefensible when evaluated under “current needs.’” Shelby Cnty., 570

U.S. at 536 (emphasis added) (citation omitted). And that is particularly so as Plaintiffs did not

offer any evidence to sustain their more-maximalist-than-ever use of race in drawing districts.




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Especially considering Dr. Alford’s unrebutted testimony that showed that any polarization is

political, not racial. LDTX53 at 7–15. The lack of a temporal restriction on Section 2 means that

as a state, like Louisiana, becomes increasingly politically polarized, Section 2 becomes a means

by which more Democrats can be elected. At a minimum, Plaintiffs’ construction of § 2 invites the

sort of “serious doubt” that requires this Court to construe § 2 in a more restrained and

constitutionally sound manner. Jennings, 138 S. Ct. at 842.

       The § 2 totality-of-circumstances test does not make up this deficiency. Although courts

must make a “searching practical evaluation of the ‘past and present reality’” of defendant

jurisdictions, Gingles, 478 U.S. at 62 (citation omitted), they are no substitute for congressional

findings because Congress gave them little meaning: “there is no requirement that any particular

number of factors be proved, or that a majority of them point one way or the other.” Id. at 45

(citation omitted). Thus, § 2 liability can arise beyond and remedial purpose, such as in a case

without evidence of recent or impactful voting-related discrimination, see, e.g., Sanchez., 97 F.3d

at 1322–24. As shown, Plaintiffs’ totality-of-the circumstances case does not justify race-based

remedies.

                                        CONCLUSION

       For all the reasons herein, the Court should enter judgment in favor of Defendants.

       Respectfully submitted, this the 19th day of December, 2023.

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